                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE



KARR TRANSPORTATION, INC.,

                 Plaintiff,

v.                                                         NO. 1:12-cv-275

TOTAL CONTROL INSURANCE                                    JURY DEMANDED
SERVICES, LLC, and
IPFS CORPORATION D/B/A
IMPERIAL CREDIT CORPORATION

                 Defendants.



                     STIPULATION OF DISMISSAL WITH PREJUDICE


        Come the parties, by their attorneys, pursuant to Rule 41 of the Federal Rules of Civil

Procedure, and announce to the court that the parties stipulate a dismissal of all Complaints,

Amended Complaints and Cross-Claims with prejudice of this action.              The parties further

stipulate that each party shall be responsible for their own attorney’s fees and discretionary costs.



Respectfully submitted:

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